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   6
   7                       UNITED STATES DISTRICT COURT

   8                      CENTRAL DISTRICT OF CALIFORNIA

   9
  10 GURI GONZALEZ,                            Case No.: 2:20-cv-08038 FMO (PVCx)

  11               Plaintiff,                  NOTICE OF SETTLEMENT OF
  12                                           ENTIRE CASE
            vs.
  13
  14 TERESA ISABELL GRATAINNE
     D/B/A SENOR BAJA;
  15 CONSTANTIN VALAVANIS, AS
  16 TRUSTEE OF THE CONSTANTIN
     VALAVANIS REVOCABLE
  17 TRUST; DOES 1 to 10,
  18
                   Defendants.
  19
  20        Notice is hereby given that Plaintiff Guri Gonzalez ("Plaintiff") and
  21 Defendants have settled the above-captioned matter as to the entire case.
  22
       DATED: December 04, 2020                  SO. CAL EQUAL ACCESS GROUP
  23
  24
  25                                                   /s/ Jason J. Kim
                                                 JASON J. KIM
  26                                             Attorney for Plaintiff
  27
  28

                                                        NOTICE OF SETTLEMENT OF ENTIRE CASE
